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                            UNITED STATES DISTRICT COURT

                              DISTRICT OF CONNECTICUT


ANDREW KLOTSCHE                           :     NO.: 3:13CV955
                                          :
VS.                                       :
                                          :
YALE UNIVERSITY, ET AL.                   :     APRIL 8, 2014



                            APPEARANCE
Please enter the appearance of ROSE LONGO-McLEAN, 51 Elm Street, New

Haven, Connecticut 06510; Telephone: 203.562.9931; Facsimile: 203.776.9494;

Email: r.l.mclean@johnrwilliams.com; Federal Bar No. ct28819; on behalf of the

plaintiff in this matter.



                                          THE PLAINTIFF

                                    BY:               /s/ Rose Longo-McLean
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CERTIFICATION

    I hereby certify that a copy of foregoing was filed electronically.
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                                           /s/ Rose Longo-McLean
                                           ROSE LONGO-McLEAN
